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Exhibit A

 

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U.S. Department of Justice

Federal Bureau of lnvestigation

 

 

Washington, DC. 20535

May 5, 2015

Certifled, Retum Receipt

Mr. Teofll Brank, Prisoner lD No. 68794-1]2
Metropolitan Detention Center
Post Offlce Box 1500
erminal Annex
Los Angeles, CA 90053-1500

Dear Mr. Brank:
Factual and Legal Basis for Seizure

On March 6, 2015, property was seized by the Federal Bureau of Investigation (FBI) at Los Angeles, California for
forfeiture for violation of PROCEEDS OF A SPECIFIED UNLAWFUL ACTlVlTY. The property is described as
follows:

$445,762.50 in total funds from Wells Fargo Bank Account Numbers: 2977086764 ($395,762.50) and
1110872536 _($50,000.00)held in the name ofTeofll Brank aka Toefll Brank at We|ls Fargo Bank, bos Angeles,
CA. _(See Attached List)

Asset ID Number : _ 15-FBI-002564
Seizure Number : 3410150099

This forfeiture is being conducted pursuant to Title 18, United States Code (U.S.C.), Section 981(a)(l)(C) and the
following additional federal laws: 19 U.S.C. Sections 1602-1619, 18 U.S.C. Section 983, and 28 Code of Federal
Regulations (C.F.R.) Part 8.

You may contest the seizure and forfeiture of this property and/or petition to the FBl and request a pardon of the forfeited
property. '

To Contest the Forfeiture

lf you Want to contest the seizure or forfeiture of the property in court, you must file a claim of ownership with the FBl by
June 9, 20]5. The claim is filed when it is received by the FBI Forfeiture Paralegal Specialist of the FBl Field Division
mentioned below. The claim need not be made in any particular form. The claim shall identify the specific property
being claimed and state the claimant's interest in such property. Documentary evidence supporting the claimant's interest
in the property may help substantiate the claim, but is not required. The claim must be made under oath by the claimant,
not counsel for the claimant, and must recite that it is made under penalty of perjury, consistent with the requirements of

' 28 U.S.C. 1746. An acknowledgement, attestation, or certification by a notary public alone is insufficient A frivolous
claim may subject the claimant to a civil fine equal to ten (10) percent of the value of the forfeited property but in
no event shall the fine be less than $250 or greater than $5,000.

If you wish to contest the forfeiture of the asset, you must comply with the procedures set forth herein. 'Failure to
do so will waive your right to contest the forfeiture of the asset in this proceeding and any judicial
proceeding - either civil or criminal - even if such a proceeding has already been commenced or is commenced in
the future.

Article Number: 7l969008911503009622

 

 

   

To Request Release of the Property

 

Upon the filing Of a claim, a claimant, pursuant to 18 U.S.C. Section 983 (f) and 28 C.F.R. Section 8.15, may request
release of the seized property during pendency of forfeiture proceedings due to hardship. The request must be made in
writing and establish that the claimant has a possessory interest in the property, that the claimant has sufficient ties to the
community to provide assurances that the property will be available _at the time of trial, and that the continued possession
by the Government will cause a substantial hardship to the claimant and that this hardship outweighs the risk that the
property will be destroyed, damaged, lost, concealed, or transferred. Property not subject to release under this
provision includes: contraband, any property, the possession of which by the claimant, petitioner, or the person
from whom it was seized is prohibited by state or Federal law, eurrency, or other monetary instrument, or
electronic funds unless such currency or other monetary instrument or electronic funds constitutes the assets of a
legitimate business; property to be used as evidence of a violation of law; property by reason of design or other
characteristic is particularly suited for use in illegal activities; or property likely to be used to commit additional
criminal acts if returned to tlie claimant.

To Request a Pardon of the Property

In addition to or in lieu of filing a claim, if you want to request a pardon of the forfeited property, submit a petition for
remission or mitigation of the forfeiture to the FBI Field Division identified below. The petition must include proof of
your ownership interest in the property or proof that you were a victim of the offense underlying the pending forfeiture, or
a related offense,-and the facts and circumstances which you believe justify a return of the property, a return of your'
interest in the property, or a return of part of the property, F or the regulations pertaining to remission or mitigation for the
forfeiture see 28 C.F.R. Sections 9.1-9.9. The criteria for remission ofthe forfeiture are found at 28 C.F.R. Section 9.5(a).
The criteria for mitigation of the forfeiture are found at 28 C.F.R. Section 9.5(b). You should file the petition within
thirty (30) days following the receipt of this notice of seizure and intent to forfeit. The Ruling Official for all petitions for
remission or mitigation in administrative forfeiture cases is the Forfeiture Counsel, who is the Unit Chief, Legal Forfeiture
Unit, Office of the General Counsel, Federal Bureau of Investigation. The Ruling Official for all petitions for remission
or mitigation injudicial forfeiture cases is the Chief, Asset Forfeiture and l\/Ioney Laundering Section, Criminal Division,
Department of Justice.

Where to Submit Correspondence

 

The Asset ID lS-FBl-002564 and Seizure Number 3410150099 have been assigned to this forfeiture action. Use these
numbers to identify the property when submitting a claim, petition, or_other correspondence to the FBl.

Submit all documents to this FBI Field Division:

FEDERAL BUREAU OF lNVESTlGATlON
ATTENTION: FORFEITURE PARALEGAL SPECIALIST
llOOO WlLSHlRE BLVD.

SUlTE 1700, FOB
LOS ANGELES, CA 900_24

TELEPHONE NUMBER: 818-989-9632

Sincerely, §
NFMM.LM@

Matthew S. Rasnake
Unit Chief

Forfeiture and Seized Property Unit
Finance Division

NOTE; All telephone inquiries should be directed to the aforementioned FBI Field Division to the attention of the
Forfeiture Paralegal Specialist. Please do not send any written correspondence to Matthew S. Rasnake.

 

 

